            Case 1:18-cr-00078-AJN Document 175 Filed 06/03/20 Page 1 of 2


                                                                                         6/3/20
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 - - - - - - - - - - - - - - - - -- - - - - - - -- - - - - - - -       x
                                                                       :
 UNITED STATES OF AMERICA                                                      ORDER GOVERNING
                                                                       :   CONDITIONS OF RELEASE
                     -v.-
                                                                       :            18 Cr. 078 (AJN)
 MELANIE WILLIAMS-BETHEA,
                                                                       :
                             Defendant.
                                                                       :
 - - - - - - - - - - - - - - - - -- - - - - - - -- - - - - - - -       x

ALISON J. NATHAN, District Judge:

          WHEREAS this Court has granted the application of MELANIE WILLIAMS-BETHEA,

the defendant, for compassionate release, pursuant to 18 U.S.C. § 3582(c);

          WHEREAS this Court this Court has directed that MELANIE WILLIAMS-BETHEA,

the defendant, be released from custody immediately;

          WHEREAS this Court, through its Opinion & Order dated June 2, 2020, has resentenced

MELANIE WILLIAMS-BETHEA, the defendant, to time served plus 36 months of supervised

release under the conditions in the original judgment, and has imposed an additional condition of

supervised release of 12 months of home detention;

          WHEREAS this Court directs MELANIE WILLIAMS-BETHEA, the defendant, to self-

isolate for a period not less than 14 days, consistent with the safety of the community;

          IT HEREBY IS ORDERED:

          1.        The Bureau of Prisons shall release MELANIE WILLIAMS-BETHEA, the

defendant, immediately and in any event no later than Wednesday, June 3, 2020;

          2.        MELANIE WILLIAMS-BETHEA, the defendant, shall upon release self-isolate

by having no more than the minimum necessary and practicable contact with other individuals




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          Case 1:18-cr-00078-AJN Document 175 Filed 06/03/20 Page 2 of 2




for 14 days following the date of her release from custody;

         3.    The mandatory conditions, standard conditions, and special conditions of

supervised release from the original sentence of MELANIE WILLIAMS-BETHEA, the

defendant, shall be imposed upon her release from custody; and

         4.    MELANIE WILLIAMS-BETHEA, the defendant is ordered to serve 12 months

of her term of 36 months of supervised release under home detention, to be enforced by GPS

Monitoring at the residence approved by probation.

         5.    MELANIE WILLIAMS-BETHEA is to possess or have access to a telephone that

will allow video conferencing by the Probation Department.

         6.    MELANIE WILLIAMS-BETHEA is to report to the Probation Department at 500

Pearl Street, 6th floor, on June 17, 2020 at 10:00 AM (following 14 days of self-quarantine) to

have the GPS tracker affixed to her ankle.



Dated:         New York, New York

               June 3, 2020



                                             _____________________________
                                             HONORABLE ALISON J. NATHAN
                                             UNITED STATES DISTRICT JUDGE




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